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     Attorney for Defendant
6    AMBER COLLINS
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,          )                2:15-cr-00176-TLN-7
                                        )
13
                             Plaintiff, )
14                                      )                STIPULATION AND ORDER
     v.                                 )                TO CONTINUE JUDGMENT
15                                      )                AND SENTENCING
                                        )
16
     AMBER COLLINS,                     )
17                                      )
                             Defendant. )                Judge Troy L. Nunley
18   __________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Rosanne Rust, and defendant, Amber Collins, by and through her counsel, Erin J.
23
     Radekin, agree and stipulate to vacate the date set for judgment and sentencing, December 7,
24

25   2017 at 9:30 a.m., in the above-captioned matter, and to continue judgment and sentencing to

26   January 18, 2018 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
27

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1           In addition, the parties stipulate to the following modification to the schedule of
2
     disclosure relating to the pre-sentence report (“PSR”):
3
            Written, or informal, objections              December 21, 2017
4

5
            Final PSR                                     December 28, 2017

6           Motion for correction of PSR                  January 4, 2018
7           Government’s reply                            January 11, 2018
8
            The reason for this request is that the defense needs additional time to obtain and review
9
     records relevant to sentencing issues, and to prepare for sentencing. Such records include proof
10

11   Ms. Collins’ has obtained her GED, her college transcripts, and school and other records for Ms.

12   Collins’ oldest child, who was recently returned to her care after being a ward of the court. Ms.
13
     Radekin also needs additional time to review the arrest reports in the probation officer’s
14
     possession pertaining to Ms. Collins’ prior arrests, facts from which are set forth in the PSR, and
15
     to do other investigation and obtain records relating to Ms. Collins’ criminal history. The Court
16

17   is advised Ms. Rust and United States Probation Officer Lynda Moore have no opposition to the

18   proposed dates set forth above, and Ms. Rust has authorized Ms. Radekin to sign this stipulation
19
     on her behalf.
20
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
21

22   IT IS SO STIPULATED.

23   Dated: November 9, 2017                              PHILLIP A. TALBERT
                                                          United States Attorney
24

25                                                 By:    /s/ Rosanne Rust
                                                          ROSANNE RUST
26                                                        Assistant United States Attorney
27
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1    Dated: November 9, 2017                             /s/ Erin J. Radekin
                                                         ERIN J. RADEKIN
2
                                                         Attorney for Defendant
3                                                        AMBER COLLINS

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5
                                                 ORDER

6           For the reasons set forth in the accompanying stipulation and declaration of counsel, the
7    date set for judgment and sentencing, December 7, 2017 at 9:30 a.m. is VACATED and the
8
     above-captioned matter is set for judgment and sentencing on January 18, 2018 at 9:30 a.m. in
9
     the courtroom of the Honorable Troy L. Nunley.
10

11          It is FURTHER ORDERED that the schedule of disclosure be modified as follows:

12          Written, or informal, objections             December 21, 2017
13
            Final PSR                                    December 28, 2017
14
            Motion for correction of PSR                 January 4, 2018
15
            Government’s reply                           January 11, 2018
16

17   IT IS SO ORDERED.

18   Dated: November 14, 2017
19

20                                                  Troy L. Nunley
                                                    United States District Judge
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